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IN THE UNITED sTATEs DIsTRICT COURT F"'ED BY -~` D.c.
FoR THE wEsTERN DIsTRICT oF TENNESSEE 05
wEsTERN DIVIsIoN SEP “2 | = 07
Fd?M itt GU;LD
JULIE L. THoMAS, CLE;% U»§ W"§J`LHS
Piaimiff,
v. Case No. 2:03cv2800 D/V
METHoDIsT HEALTHCARE and

METHODIST HEALTHCARE MEMPHIS
HOSPITALS and RANDALL “RANDY”
SECREASE,

Defendants.

 

ORDER GRANTING PLAINTIFF’S MOTI()N TO FILE MEMORANDUM IN
RESPONSE TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
IN EXCESS OF PAGE LIMIT SET BY LOCAL RULE 7.2(e)

 

BEFORE THE COURT is the Plaintiff` s motion for an order allowing Plaintiff to file a
memorandum in response to Defendants’ motion for summary judgment, which exceeds the
twenty (20) page memorandum limit set by Local Rule 7.2(e);

IT APPEARING TO THE COURT that the motion is Well taken and should be granted;

IT IS THEREFORE ORDERED, ADJUDGED and DECREED that the Plaintiff’s motion
to file a memorandum in response to Defendants’ motion for summary judgment, which exceeds
the twenty (20) page memorandum limit set by Local Rule 7.2(e) is granted Plaintift"s statement

of facts and memorandum of law shall not exceed thirty (30) pages.

Th:s document entered

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Notice of Distribution

This notice confirms a copy of the document docketed as number 25 in
case 2:03-CV-02800 was distributed by fax, mail, or direct printing on
September 8, 2005 to the parties listed.

 

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Honorable Bernice Donald
US DISTRICT COURT

